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    ANDERSON COOPER 360 DEGREES

    President Trump On His Most Recent Accuser: "It Never
    Happened, She's Not My Type"; Interview With Columnist E.
    Jean Carroll Who Accuses President Trump of Sexual Assault;
    In Latest Interview, President Trump Assails Joe Biden, Saying
    Biden's "Embarrassed" Obama Isn't Endorsing Him; President
    Trump, Pence Place Dems For Filthy Conditions Where U.S.
    Keeps Migrant Kids. Aired 8-9p ET


    Aired June 24, 2019 - 20:00 ET

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    [20:00:13] ANDERSON COOPER, CNN HOST: Good evening.


    She's not my type. That is what the president of the United States has just said about the woman who says he
    sexually assaulted her. She's not my type.


    Which is what one says when a friend tries to fix you up, not my type. It's not what anyone really says when
    accused of what amounts to rape. Not my type.


    That is precisely what President Trump just said and not for the first time either. She's not my type. He just said
    this about his 15th and latest accuser.


    And we begin tonight with her account of the alleged sexual assault that she says she endured at his hands. And
    that alone should be compelling enough at any other time it would be.


    Today, it's also part of a larger and more troubling story of collective indifference. Somehow, and we'll explore

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    the reasons why, the fact that the president has been accused 14 other times of unwanted sexual advances or
    outright sexual assault, has numbed people to just how abnormal this is -- these kind of accusations.


    When Bill Clinton was accused two decades ago, it shook the country. Well, now the country shrugs as if one
    allegation is an outrage but 15 are a statistic. Even though he's on tape boasting about being able to get away
    with such assaults because he's a celebrity, even when as in this case the alleged assault is corroborated by two
    other people that she told at the time, back in the mid '90s.


    That's when writer and "Elle Magazine" advice columnist E. Jean Carroll says this happened at a dressing
    room at New York clothing store Bergdorf Goodman, just steps away from Trump Tower. She writes about it
    and other painful encounters in her book "What Do We need Men For?: A Modest Proposal."


    We spoke just a short time ago.


    (BEGIN VIDEOTAPE) COOPER: I want to begin just by asking you about the latest thing that the president
    has said just moments -- a short time ago, he gave an interview to "The Hill". He said: I'll say it with great
    respect. Number one, she's not my type. Number two, it never happened. It never happened. OK?


    E. JEAN CARROLL, AUTHOR, "WHAT DO WE NEED MEN FOR?: A MODEST PROPOSAL": I love that.
    I am so glad I'm not his type. I'm so glad.


    This is -- this was 20 years ago. And I probably was at that moment, in that five minutes, the most attractive
    woman in Bergdorf's, in that one bit of time.


    COOPER: And you think that's what it was about for him?


    CARROLL: I don't know what it was about. Anderson, we were having a high old time. You remember Donald
    Trump. Hail-fellow-well-met, walking up and down the streets of New York, greeting everybody. Everybody
    liked him.


    COOPER: You're talking about in 1995, '96.


    CARROLL: '95, '96, he was Shakespearean. He was great. You'd love to see him on the street.


    So when we met in Bergdorf's and he said, help me, advise me to find a present, I was -- I was thrilled. I
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    thought this is hilarious.


    COOPER: I'm wondering, the statement he said, which you just made, which is "she's not my type", number --
    that's the number one thing.


    CARROLL: I love that I'm not his type.


    COOPER: He has said that previously. There was a woman Jessica Leeds who --


    CARROLL: Oh, I know.


    COOPER: -- came forward. And he said, I think we actually have the tape of what he said, and it echoes some
    of the language. Let's just play what he said about Jessica Leeds in front of a crowd.


    (BEGIN VIDEO CLIP)


    TRUMP: When you looked at that horrible woman last night, you said, I don't think so. I don't think.


    She would not be my first choice, that I can tell you. Man! You don't know. That would not be my first choice.


    (END VIDEO CLIP)


    CARROLL: He also called Miss Universe fat. Miss Piggy I think he called her. Miss Universe, one of the most
    beautiful women in the solar system, and he called her fat. COOPER: The other thing that he said is that you're
    totally lying.


    He said again in this interview, new interview, he said: Totally lying. I don't know anything about her. I know
    nothing about this woman. I know nothing about her. She is -- it is just a terrible thing that people can make
    statements like that.


    CARROLL: He's denied all 15 women who've come forward. He denies. He turns it around. He threatens any
    attacks.


    COOPER: Let's talk about what you say happened because obviously the details of it all matter and this is -- I
    should point out -- just part of -- this is one person you talk about in your book. This is not a book about
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    Donald Trump.


    CARROLL: No.


    COOPER: This is not -- there's not Donald Trump on the cover.


    CARROLL: No.


    COOPER: This is about your life and --


    CARROLL: Don't even mention his name. I mentioned his name once in the book. Once.


    COOPER: So you were -- you say you were in Bergdorf Goodman.


    CARROLL: I was coming out of Bergdorf's --


    COOPER: Which is a store I heard you liked a lot.


    CARROLL: It's a posh and cozy --


    COOPER: Your face lights up when you talk about Bergdorf Goodman's.


    CARROLL: I was just there.


    COOPER: OK.


    CARROLL: I just love it.


    So, I was coming out. And he was coming in -- he was standing out -- he put his hand like this, so I did not go
    through the revolving door. He came in, he said, hey, you're that advice lady. And I said, hey, you're that real
    estate tycoon.


    He said, come advise me, I want to buy a present. I said, oh, for who? He said for a girl.


    So, I was enchanted. It was such a great moment.
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    [20:05:01] So, how about the handbags? Oh, no. He doesn't want a handbag. Well, how about a hat? So, he
    strolls (ph) --


    COOPER: And you hadn't -- had you met him prior to that?


    CARROLL: Just once, briefly. There's a picture --


    COOPER: That's the photo of, with --


    CARROLL: With my ex-husband and he with his ex-wife, a very -- a very nice --


    COOPER: Which, by the way, he had said he'd never even met you previously. Obviously, the picture which
    we have tells a different story.


    CARROLL: So we went to the hats and he immediately put a -- grabbed a fur hat, of course. I said oh, you
    can't put a dead animal on your head. And then I found out later of course, all of his women wear those fur
    hats. Ivana, Ivanka. You've seen pictures. They all -- OK.


    Yes, I said, how old is the young lady? And he said how old are you? And I said 52. And he said you're so old.


    COOPER: He said that?


    CARROLL: Of course. He said, you're so old. And shortly after that he said, I know, lingerie. Or he could have
    said underwear.


    And so we went up the escalator. He we went to the lingerie department. It was empty. There was nobody
    there. There was nobody on the whole floor, frankly.


    I think he goes through bathing suits and -- the store was not popular at the time. Nobody was there. On the
    counter --


    COOPER: That's going to sound strange to people, that nobody was in the --


    CARROLL: Because Bergdorf's is the greatest store on the earth. They take care of whatever you want there. If
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    you're thirsty they'll bring you water. They'll comb all over the country to get you what you want.


    It was a moment in time, nobody was there. Plus, a dressing room door was open, which is very unusual
    because usually they're locked and the attendant comes and locks it, escorts you in. OK. So on the --


    COOPER: He said lingerie because he said he wanted you to help pick out some lingerie.


    CARROLL: He was not having it with the hats. The hats were -- OK. So then we went out. He was trying get
    some lingerie. And I am just like oh -- I can die now forever on this store. We're going to go get lingerie.


    COOPER: You go -- you say you go up to the lingerie department and no one is around.


    CARROLL: And there are two or three boxes on the counter. The fancy -- remember the old-fashioned lingerie
    boxes. And a filmy see-through body suit in lilac gray. And he snatches it up and he says go try this on.


    I said you try it on. He said no, it looks like it fits you. I said it goes with your eyes. He said no, go put this on.
    And Anderson --


    COOPER: So at this point you're saying it's a friendly --


    CARROLL: I was joshing.


    COOPER: Joshing.


    CARROLL: I used to be a writer at "Saturday Night Live." I see an entire sketch of making Donald Trump put
    this filmy thing over his pants. That is what I'm thinking.


    I'm not thinking I think it's -- I was laughing as I said it. He said, well -- he went like this. And I walked in
    stupidly --


    COOPER: So, for you, this was kind of a New York moment.


    CARROLL: Oh, the best -- just like the best New York -- Donald Trump is going to put on a filmy body suit?
    It's like oh, I couldn't -- so he -- let's go in the dressing room. I thought I'm going to make him put the pants on.
    Walked in.
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    And the minute I was in there he shut the door and pushed me up against the wall and bang -- banged my head
    on the wall and kissed me. It was so shocking. I couldn't -- of course, I started laughing again. Because --


    COOPER: You started laughing.


    CARROLL: Of course.


    COOPER: Why? Why of course?


    CARROLL: Because it was a way of -- if it was at all erotic, if a man is laughed at it usually will make him --
    and he put his shoulder against me to hold me against the wall. And at that point I realized that I was in a very
    difficult situation.


    COOPER: Did he say anything?


    CARROLL: No. No. It was just like we're going to do this thing, we're just so hot for each other. Why would I
    even try to think what he was thinking?


    Anyway, so, he pushed -- you know -- he pushed me -- held me with his shoulder and I was wearing a coat
    dress and tights. And he pulled down the tights. And so, that's --


    COOPER: He pulled them with both hands?


    CARROLL: One. And that was when it turned serious. I realized that this was -- this was -- this was a fight.


    And even though I can talk about it now and put words to it, at the time, the adrenaline is pouring through me
    and all I want to do is --


    COOPER: How would you describe -- were you -- you said you were surprised --


    CARROLL: Fighting.


    [20:10:00] COOPER: Fighting. Were you scared? Were you angry?


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    CARROLL: No. I was too panicked to be scared.


    COOPER: Too panicked to be scared. OK.


    CARROLL: You know?


    COOPER: You said adrenaline was pumping.


    CARROLL: I assume it was. Because I got stronger -- he's 6'3". I looked it up. I was about 6'1" in the massive
    heels I was wearing. And so, we were even -- almost even in height. And down go the tights.


    And it was against my will. And it hurt. And it was a fight.


    COOPER: And this is not a question I would normally ask. And if you don't want to answer I totally
    understand. But given the prior accusations, which have all been of forms of assault or harassment, you're
    saying there was actual penetration.


    CARROLL: Yes.


    COOPER: Did you -- which is -- puts it into a different category of any of these other -- any of the other
    women who have come forward. I mean, that is -- that is the definition of rape. One definition.


    CARROLL: That's the definition. Yes.


    COOPER: How long --


    CARROLL: Brief. Brief. Because when a woman is stamping her feet --


    COOPER: And that's what you were doing? You started stamping your feet?


    CARROLL: I always think back and think that was the stupidest thing I've ever done. I should never have done
    it. And then I didn't behave --


    COOPER: When you say I should have never done, it you mean --


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    CARROLL: That was just a dumb thing to go into a dressing room with a man that I hardly know. And have
    him shut the door. And then be unable to stop him.


    And I was a competitive athlete. So I wasn't like a -- I didn't freeze. I rose to the occasion. And it did not last
    long.


    And that's why I don't use the word you just used. I use the word fight.


    COOPER: You don't use the word rape.


    CARROLL: Sexual violence is in every country in every strata of society, and I just feel that so many women
    are undergoing sexual violence. Mine was short. I got out. I'm happy now. I'm moving on.


    And I think of all the women who are enduring constant sexual violence. So, this one incident, this one, what,
    three minutes in this little dressing room, I just say it's a fight. That way I'm not the victim, right? I'm not the
    victim.


    COOPER: You don't feel like a victim.


    CARROLL: I was not thrown on the ground and ravished. Which the word "rape" carries so many sexual
    connotations. This was not -- this was not sexual. It just hurt. It just --


    COOPER: I think most people think of rape as a -- it is a violent assault. It is not --


    CARROLL: I think most people think of rape as being sexy.


    COOPER: Let's take a short break --


    CARROLL: They think of the fantasies.


    COOPER: We're going to take a quick break. If you can stick around we'll talk more on the other side.


    CARROLL: You're fascinating to talk to.


    (END VIDEOTAPE)
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    (COMMERCIAL BREAK)


    [20:17:22] COOPER: More on my conversation with E. Jean Carroll and the president's latest denial of her
    sexual violence allegations against him.


    He said, quote, "She's not my type." He's also said previously he did not know her, had never met her, even
    though they had in fact met. She's the woman on the left along with her husband a local news anchor at the
    time and the president's wife at the time, Ivana. The president has also said flat out that she is lying.


    We were talking in the last segment about what she says happened in that department store dressing room and
    more specifically the word she does not use to describe it.


    (BEGIN VIDEOTAPE)


    COOPER: Before the break, you said you don't use the word "rape." A lot of women hearing this, I mean, a lot
    of people hearing this who believe you would say that this is rape. CARROLL: You know, I just have trouble
    with the word. I just have


    trouble. I write an advice column for 25 years and women write to me with these devastating stories and they
    have been violently, you know, disposed of by men. And I just -- I feel too much respect for their suffering.


    I didn't suffer, Anderson. I did not suffer. I didn't lose my job. I wasn't beaten. You know, I just don't use the --


    COOPER: So you say you stomped your foot. And then --


    CARROLL: And I had my purse in this hand. The only reason I know I had my purse in this hand is because
    by the time I got out to Fifth Avenue, I reached in to get my phone. So apparently I was holding my purse the
    whole time.


    COOPER: Do you remember leaving the store?


    CARROLL: I remember being out on Fifth Avenue. I remember going through the first floor out the door. I
    don't remember which door but I ended up on Fifth Avenue.


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    COOPER: What is going through your mind in that moment? You've gotten out. But what --


    CARROLL: Flight. I felt relief to get the heck out.


    COOPER: Because I don't think any guy can understand unless they've been sexually assaulted what a woman
    goes through -- I mean, if what you're saying is you're attacked in this place you'd never expect -- you that
    enjoy being in, you just -- did you think about police? Did you think about talking to friends? What was going
    through your mind?


    CARROLL: I called my friend right away. And one of the first things she said to me is: E. Jean, stop laughing,
    this is not funny.


    COOPER: You were laughing when you described it to her?


    CARROLL: I was laughing as soon as she got on the phone apparently. I don't remember it.


    COOPER: CNN has talked to both friends who say you that spoke to them around that time.


    [20:20:03] And one of them says that yes, that you were laughing.


    CARROLL: Yes, doesn't that sound totally insane? I guess -- well, that's how I deal with things in life. You
    know, to me life is a marriage of comedy and tragedy, right?


    And if you don't laugh at things, you're going to have a hard time moving forward, as you know. You know, the
    way is to smile, get past it, and move on. And that -- you know, that is a great way to handle it.


    COOPER: You're a writer, though. I mean, at the time, did you think about writing this? Did you -- I mean, did
    you think about --


    CARROLL: I wanted to forget it.


    COOPER: Really?


    CARROLL: Oh, I didn't -- because I thought, A, my fault. B, I was stupid. C, I didn't think of it as the word
    you're using. I didn't think of it as rape.
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    I thought of it as a violent incident. I thought of it as a fight. And I'll tell you how stupid -- I thought I won
    because I got out.


    COOPER: The person you talked to on the into, did they tell you -- they said that -- they told us that they
    recommended you go to the police and they offered to go with you.


    CARROLL: To go -- E. Jean, I'll go with you. You have to go to the police. You should report this to the police.


    It was so far beyond me to go anyplace, to do anything except just go home and take a shower and get clean
    and get in my bed.


    COOPER: Was there a thought you should go to the police for you?


    CARROLL: No. I just didn't want the rigmarole. I just didn't want to do it.


    And like many, many, many other women, a lot of women, it's a personal choice. Do you want to go to the
    police? Every woman has to decide for herself.


    COOPER: Did you worry -- obviously you're a public person in New York, very well-known writer. You're on
    television shows.


    Did you worry it would define you in some sort of way?


    CARROLL: I hadn't thought of that, but I think you're right. I think you're right. And that is part of the -- that's
    interesting. I hadn't thought of that.


    COOPER: Why then right about it now? Why come forward --


    CARROLL: Because I was ready. It's my time. Everybody -- well, here's what happened. Two years ago,
    Megan Twohey and Jodi Kantor astounded the world with their bombshell about Weinstein, right?


    COOPER: Harvey Weinstein.


    CARROLL: And that started the surge of "me too." And what happened is the women who were writing to my
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    advice column they wanted to stand up too and they wanted -- should they go to the police? Should they turn in
    their husbands? How about their stepson?


    And I thought oh, my -- so two years of this and I thought I am just such a -- what am I doing? These are the --
    my correspondence. I love them. COOPER: You felt --


    CARROLL: Yes.


    COOPER: -- being fraudulent.


    CARROLL: That's the word.


    COOPER: You're giving them advice and you yourself --


    CARROLL: I'm telling them exactly what to do.


    COOPER: You're saying come forward.


    CARROLL: Or not. You can't -- not every woman should come forward.


    COOPER: Every situation is different.


    CARROLL: Every situation -- so right.


    COOPER: So, look, you decide to write about it. Again, it's just part of a larger book that this is not the subject
    of the entire book. It's made headlines.


    CARROLL: No, it's just a sliver. It's a sliver --


    COOPER: But you knew -- you saw -- when Jessica Leeds came forward, when other women came forward
    during the campaign, did you ever think oh, this is the time I should add my voice to it?


    CARROLL: No, they're doing it. Anderson, they were doing it. And I watched from the sidelines.


    You know, it occurred to me just two days -- when Bill Clinton was running for president and there was what
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    they called the bimbo explosion. I had lunch with McGovern and I said, what do you think about all these
    women complaining about Bill Clinton? And McGovern said it's helping him. I said, what? He said watch. It's
    helping him.


    COOPER: And you believe all those women coming forward helped Trump?


    CARROLL: Yes.


    COOPER: In what way?


    CARROLL: It showed him very manly, he takes what he wants, he's rich enough to have any woman, play --
    you know, beautiful Playboy playmates, porn stars, and he's so rich he can pay them off. He can have any
    woman he wants. I think it plays well.


    COOPER: E. Jean Carroll, thank you very much.


    CARROLL: Anderson Cooper, you're welcome.


    (END VIDEOTAPE) COOPER: Coming up next, reaction to what you just heard and what the president has
    just said about E. Jean Carroll from Maggie Haberman from "The Times," Amanda Carpenter, Laura Coates.
    That's just ahead.


    (COMMERCIAL BREAK)


    [20:28:35] COOPER: We're talking tonight about the president's latest defense in the face of the latest sexual
    misconduct allegation against him. He just told "The Hill" that accuser number 15, E. Jean Carroll, whose
    allegations amount to rape, was, quote, not my type, and that she's lying.


    Here's how she reacted.


    (BEGIN VIDEO CLIP)


    COOPER: I'm wondering, the statement that he said which he's just made which is she's not my type, that was
    the number one thing --


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    CARROLL: I love that I'm not his type. Don't you love that you're not his type?


    He also called Miss Universe fat. Miss Piggy, I think he called her. Miss Universe, one of the most beautiful
    women in the solar system, and he called her fat.


    (END VIDEO CLIP)


    COOPER: Joining us now, CNN Political Analyst and "New York Times" White House Correspondent,
    Maggie Haberman. Also, Amanda Carpenter, communications director for Senator Ted Cruz. And CNN legal
    analyst Laura Coates.


    Thanks for being with us.


    Maggie, the reaction from the president saying he doesn't -- he's never met her, that obviously, you know,
    there's a picture where they have met. Do you -- her response that this plays well, that this actually somehow, it
    doesn't affect the way people see him, do you believe that?


    MAGGIE HABERMAN, CNN POLITICAL ANALYST: I was struck by her saying that to you. And I think
    there is something probably to that, whether it is a portion of people within his supporters who find sort of the
    idea of being very macho and being very tough and sort of taking what you want to be appealing.


    [20:30:00] You know, he had a similar statement in response to an allegation in 2016 where somebody had
    accused him of assault on an airplane.


    COOPER: Right.


    (CROSSTALK)


    HABERMAN: And he said she -- right, basically leads (ph), and he said she wouldn't be my first choice or
    something to that affect at a rally. And that there too is another similar statement that is also a striking
    statement because rape or sex assaults are not about sex, they're about power and he makes no distinction
    between them. And the President has been very concerned about allegations against people like Bill Clinton or
    Harvey Weinstein, less so when it involves himself or Republicans.


    COOPER: Yes. Amanda, the President tonight saying that "it's just a terrible thing that people can make
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    statements like that." In his original statement on Friday night, he said that people should pay dearly for such
    false accusations. Some I guess might see that as a threat. I'm wondering what you make of the allegation and
    the response to it.


    AMANDA CARPENTER, CNN POLITICAL COMMENTATOR: E. Jean Carroll is not another random
    woman that Donald Trump can dismiss. I grew up reading her advice columns and what I loved about her and
    still to this day is that she would lift somebody up and kick them under the butt at the same time. So I'm going
    to do a little bit of that tonight.


    People are wondering, are we numb to this? Is this different? Yes, this is different in 2020 because we the
    people have so much more information about Donald Trump's sexual impulses than we did in 2016.


    Michael Cohen is in jail right now in part because of the lies that he told to silence Stormy Daniels and keep
    her truth from the public. He's following the same playbook trying to smear these women again saying there is
    not -- he's not -- she's not his type. It didn't happen.


    But for this to matter, people have to make the argument. Someone has to put the question before the people.
    Should sexual misconduct disqualify a man from being in a position of power? When you put it like that,
    obviously, the answer is yes.


    But, there was a time when the answer was no. That answer used to be no for someone like Roger Ailes, Les
    Moonves, Harvey Weinstein. It became yes once people had clear information and we have a pattern here.


    Jean Carroll is someone with credibility. Women know her. They know her story. They know the way that she's
    counseled women for so long. So when she tells you, "I came out with this story now because all these women
    kept asking me for advice," she's doing what she's done for the last 25 years. She's telling her story and trying
    to help women navigate this time.


    COOPER: Laura, I mean, I think Amanda makes good points. There are the people who are going to listen to
    this and just discount this and say, look, OK, this is -- there's political agenda. She's selling a book, which is
    what the President has also pointed out.


    You know, it is remarkable that an allegation like this can be made against a sitting president and having not
    be, you know, the headline of every newspaper, certainly says a lot about where we are right now. LAURA
    COATES, CNN LEGAL ANALYST: It does. And it also her statements to you, Anderson, were extraordinarily
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    striking because it really laid out a lot of the preconceived notions and misconceptions people have one about
    the definition of rape. She thought it was about sexual attraction, which rape is about power and a power
    dynamic and exploitation of power. It's little to do with sexual attraction.


    Number two, it's the idea of her and what people assume a victim will act like. People have a lot of credibility
    issues start (ph) with E. Jean Carroll because of the laughter that she says she expressed even in telling a friend
    and the idea that she felt somehow blamed in her own mind for going into this dressing room with Donald
    Trump as a citizen at that point in time.


    And so, a lot of those factors, the jury and the court of public opinion look at and say, well, somebody who
    says that they are not actually a victim, somebody who is laughing through it, can I assign credibility?


    And the real truth of the matter is, Anderson, you know, when I prosecuted a number of cases involving sexual
    assault, including delayed reporting, one of the hurdles we always face, not only the jury, but the person who
    was victimized, acknowledging what happened to them, understanding the impact of it and we always had to
    guard against the idea of saying, look, a victim comes as they come. You cannot define and explain to them
    how they should be acting if in fact she's credible.


    COOPER: Amanda, you know, what you said about, you know, this is -- this should be different. This is
    different. People know her, read her column, just even the coverage of this, though, you know, it hasn't gotten a
    huge amount of coverage or any kind of sustained coverage.


    CARPENTER: Yes. And even tonight there was news that "The New York Times" or "New York Post" was
    instructed to take down the column because there's people that want to protect Trump. And these are very
    uncomfortable questions.


    You know, I didn't see many Democrats putting out statements about this because it's an uncomfortable
    conversation. But I trust that when you put it before people in a clear way, should men who commit acts of
    sexual violence, assault against women, should they be in positions of power, yes or no? We should not shirk
    away from this.


    [20:35:04] But there's a lot of people that want to duck and cover and hope this will go away because it's hard
    to talk about. It's hard to watch a woman's pain.


    COOPER: Maggie, I mean, I don't know if this is -- would make any kind of -- I mean, you had, you know,
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    more than a dozen people come forward --


    HABERMAN: Right.


    COOPER: -- albeit during a campaign. HABERMAN: I mean -- well, except -- during a campaign is actually
    when people are paying a lot of attention to -- number one, to information and this was not just at the end of
    the campaign. We reported on at the times many months before the election.


    I do think that the issue here in part is that I don't -- I think that voters have largely made up their mind in one
    direction or the other about this President. I think that if hearing about Michael Cohen and pay offs to a porn
    star and an affair did not change people's minds, which polls indicate it didn't, I don't think anything is going
    to.


    COOPER: Laura, just finally, Mayor de Blasio over the weekend said that the New York Police Department
    would investigate this allegation, but the statute of limitations has expired on them, even though New York
    State updated the law back in 2016. It's not retroactive, is it?


    COATES: Well, he's offering to reopen the investigation in the event that she actually wanted to go forward.
    And really the issue here to me, Anderson, is even if it were available to her, she's saying that she has decided
    based on the advice of counsel that she was approaching her.


    I'm talking to Alisyn Camerota earlier today on "New Day" about this very issue that she thought, you know
    what, I probably won't be able to win this, so it's a fool's errand to be able to do it. And that speaks volumes
    about where we really are in conjunction with both Maggie and Amanda are talking about, the idea that one
    would think if they are a victim of sexual assault in this country in 2019, it would be a fool's errand to pursue
    against the person of power.


    COOPER: Amanda Carpenter, Maggie Haberman, Laura Coates, appreciate it. Thank you very much. Maggie
    is going to stick around and that interview with President Trump just gave there was a lot more to digest. He
    once again sales his main Democratic rival and his reasoning is pretty interesting. We'll have that ahead.


    (COMMERCIAL BREAK)


    [20:40:38] COOPER: There's more breaking news now in that interview that he just did with the Hill.
    President Trump weighs into presidential politics and talks strifefully (ph) about the man who so far leading
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    the Democratic -- or is the leading Democratic opponent, I should say, former Vice President Joe Biden. It's an
    extended riff on his earlier remarks about Biden's intelligence.


    (BEGIN VIDEO CLIP)


    DONALD TRUMP, PRESIDENT OF THE UNITED STATES: How he doesn't get President Obama to
    endorse him, there has to be some reason why he's not endorsing him. He was the vice president. They seemed
    to have gotten along and how President Obama is not endorsing him is rather a big secret. If you want to know
    -- if you know the answer, please let me know, because I think it's very important.


    And then he goes and lies and said I asked the President not to endorse me. Give me a break. He said he asked
    the President because he's embarrassed by the fact that Obama is not endorsing him. So he goes and says, "I
    asked President Obama not to endorse me." Well, he was trying to get the endorsement. So it could be that
    President Obama knows something, but there is something going on in that brain of his.


    (END VIDEO CLIP)


    COOPER: And Maggie Haberman joins me, as well as David Gergen, advisor to four presidents over the years.
    It's interesting, he's -- it sound similar what he -- I mean, he's doing a number of things there but similar to
    what he did to Hillary Clinton sort of raising the possibility, throwing out the possibility, "Oh, there's
    something happening in his brain."


    HABERMAN: Yes. No, this sounds like we're in late stage 2016 or mid- stage 2016 at this point. He's
    suggesting that there is some medical issue with Joe Biden and --


    COOPER: That Obama knows about.


    HABERMAN: -- and I can't say. But, remember, his refrain throughout 2016 was there is something going on,
    folks, and that's exactly what this is. It's funny. He is zeroing in on something that was sort of the least credible
    thing that Biden has said about his Obama relationship --


    COOPER: Right.


    HABERMAN: -- which is, "Oh, I asked him not to endorse me." And yet they are putting out these tweets with
    best friend bracelets of the two of them.
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    However, Donald Trump did not endorse Mike Pence recently in an interview, either. And I doubt that he
    would say it was because there was something going on in the brain and there was a big secret about it. There
    are a lot of reasons why Barack Obama might not be endorsing Joe Biden and it is very in keeping with how
    President Trump has planned on going at Joe Biden.


    COOPER: But, you know, David, it is interesting though that -- I mean, the President does have a remarkable
    ability to kind of zero in on something, in this case, you know, Joe Biden's statement that he told Obama -- he
    asked Obama not to endorse him, which is just, you know, it's hard to imagine that is actually true.


    But the President kind of zeros in on things which, you know, he has a point there and then -- I mean, he
    obviously is now taking it to a medical issue and stuff. But, it is kind of one of the skills that he has to kind of
    hone in on a weakness and make the most of it.


    DAVID GERGEN, CNN SENIOR POLITICAL ANALYST: Yes. Let me just say first of all, Anderson, thank
    you for giving so much coverage of Ms. Carroll and then especially for allowing three women to have the first
    voices and what -- would it deserve to be a much more serious conversation in the days ahead. In the
    meantime, on -- you know, the President had -- Donald Trump is a master at planting smears. Planting the ideas
    that he doesn't allowed to -- he has certain sprouts into bigger ideas. And what he is suggesting now is that he
    said, I think he's off. He's different.


    He was very definitely saying that mentally and psychologically he's less of a man, less of a candidate than he
    was. This is from the same White House, the same president that was furious with the questions raised about
    Donald Trump's own mental stability.


    And the President then, of course, had that famous phrase that he's a very stable genius, just smacking down.
    But this is par for the course what we've seen and very importantly, I do think it suggests a kind of race we're
    going to have ahead. It's going to be a mean and frequently dirty race.


    COOPER: And does that work, Maggie? I mean, it's --


    HABERMAN: It worked last time.


    COOPER: -- with all the evidence it seems to point to the fact that it kind of does.


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    HABERMAN: Negative politics works, it always has. And as we have seen increasingly in these campaign
    cycles over the last four years, voters don't really hold it against candidates for going negative because they
    assume that all politicians are bad. And so there's actually less of a cost for Donald Trump whose negatives are
    high already.


    It's not like he's going to bring his own down that far is his gamble. He can't win reelection based on the math
    of his base right now. So it can only be through certain advantages of the map and tearing down the Democrat
    and he assumes it will be Joe Biden. And I think he thinks that Joe Biden is someone who he knows how to run
    against.


    [20:45:01] COOPER: David, the President also talked about how he doesn't need congressional approval for a
    military strike against Iran. And in that conversation, I want to play something that he said.


    (BEGIN VIDEO CLIP)


    TRUMP: I have ideas that intelligent people, they'll come up with some thoughts. I actually learned a couple of
    things the other day when we had our meeting with Congress.


    (END VIDEOTAPE)


    COOPER: You know, the -- I guess the members of Congress will be relieved to learn that the President, you
    know, thinks they'd come up with some thoughts. The notion, how do you think he -- this whole Iran thing has
    sort of played out for the President?


    GERGEN: Well, he's getting a fair amount of credit from the left and I'm among the people who are thankful
    that he didn't send any missiles. I think it would have made the situation much, much worse. But this hasn't
    played out yet, Anderson.


    You know, the Iranians are about to breakout the nuclear agreement itself. This is going to get a lot harder and
    tougher in the days ahead. And it's not very far away when the Iranians are going to start to have breakout.


    So I don't think -- well, I don't think -- I think it's way too early to make judgments about how presidential
    decision making. And we know it's sloppy, but what the end result is going to be I don't think we know yet.


    COOPER: Yes. He also went on to say that he doesn't like keeping Congress, in his words, abreast, that he
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    doesn't have to do it legally.


    HABERMAN: I understand that that his view and that is increasingly the view of the White House. Congress
    does not agree and it's been the view of the White House on all manner of things, whether it is these
    congressional oversight investigations or whether it is about potential military action.


    I think that this is going to be yet another thing that the Democratic held House is going to try to have
    adjudicated by a court, but that also gets into those areas.


    COOPER: Yes. Maggie Haberman, David Gergen, thank you very much. Still to come tonight, filthy
    conditions for migrant kids separated from their families and who the President blames for it.


    (COMMECIAL BREAK)


    [20:50:57] COOPER: More details came out this weekend about the conditions in which migrant kids are
    reportedly being held in this country. Republican Congressman Mike McCaul called them "the worst I've ever
    seen".


    A lawyer who visited the facilities in Texas told "The New Yorker," children kept filthy and hungry, denied
    showers, left to sleep on concrete floors. Vice President Pence blamed Democrats in Congress. And on NBC,
    President Trump falsely blamed President Obama and then took credit for ending family separation.


    Let's check in with Chris now. It is kind of amazing, Chris, that the President is taking credit for ending family
    separation when obviously that was part of their entire policy.


    CHRIS CUOMO, CNN ANCHOR: It did it. He likes the harshness of it. They continue to do it. That's the
    truth. There's a lot of ugly truth here. I have never seen a crisis since maybe when you were in New Orleans
    talking about Katrina that was as openly understood and ignored as this one is. They all know all about it,
    Anderson, and no one is doing a damn thing. We're waiting this week.


    So you have, why are they there? They are up against it. This is not about abuse that is intentional as far as I
    know, but that's starting to change. The El Paso tent city is much better. Imagine if they had money to build a
    lot more of those that they've been begging for.


    The federal government was in court arguing that sanitary conditions does not require soap or toothbrushes.
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    That's where this government's head is right now. They're putting a premium on harshness and it's horrible.


    COOPER: And yet -- I mean, for this President it pays off, I mean, among supporters.


    CUOMO: It does. Until somebody finds it's positive opposite as a message. You cannot tell me that Americans
    are happy about harshness against kids. They're not showing you those faces down there for a reason. It's the
    one part that pisses me off. They say, well, privacy rights, Anderson. I must respect these children's privacy
    rights, please. If you respected anything about it, the situation would be nothing like this.


    COOPER: What are you doing tonight? What do you got?


    CUOMO: So, we have the campaign manager for Bernie Sanders to test his case about education. How is he
    going to pay for this? Why is it fair?


    And then you know who I have, Chloe Flower. You're going to love her. She blew up the Grammys with Cardi
    B, remember? She mixes classical music with hip-hop. Her song is number one on iTunes. It doesn't even have
    lyrics. And, she knows all this stuff about human trafficking. She's been doing that work with the U.N. longer
    than music.


    COOPER: Wow, that's awesome. All right, Chris, we'll see you then about seven minutes from now.


    Coming up, President Trump crying foul again about the 2016 election results. Unfounded claims? Yes. A
    popularity contest and a mantra from my favorite stand-up comic all next on "The Ridiculist."


    (COMMERCIAL BREAK)


    [20:57:14] COOPER: Time now for "The Ridiculist." And tonight it's another entry from President Trump's
    department of grievances. In an interview with NBC yesterday, the President repeated his widely debunk claim
    that Casper, the deep state ghost, somehow tampered with the 2016 election results. That's right 2016, still
    talking about it.


    Now, granted, he was responding to a question but he still took the bait like a big, beautiful, elegant Trump
    hotel sea bass.


    (BEGIN VIDEO CLIP)
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    CHUCK TODD, NBC ANCHOR: You didn't like the fact that you lost the popular vote. That bothered you,
    didn't it?


    TRUMP: Well, I think it was a -- I mean, I'll say something that, again, is controversial. There were a lot of
    votes cast that I don't believe. I look at California. TODD: Mr. President.


    TRUMP: Excuse me.


    TODD: But that's a --


    TRUMP: Take a look at Judicial Watch. Take a look at their settlement where California admitted to a million
    votes. They're admitted to a million votes.


    (END VIDEO CLIP)


    COOPER: OK. There are countless ways to respond to that. No one says it better though than my favorite
    stand-up comic, SNL's Jeannie Darcy.


    (BEGIN VIDEO CLIP)


    JEANNIE DARCY, SNL STAND-UP COMEDIAN: Don't even get me started. Don't even get me started.
    White ladies, don't get me started. Can I hear it from the sisters? Don't get me started. No, you know what, get
    me started.


    (END VIDEO CLIP)


    COOPER: Don't get me started. Don't even get me started. Where have you gone, Jeannie Darcy? This nation
    turns its only eye to you.


    But, all right, get me started because here's the thing, California never admitted to a "million votes," whatever
    that actually means. It sounds like something whispered on the floor of a now bankrupt casino.


    The settlement the President referred to was California removing the names of inactive voters (INAUDIBLE),
    even the conservative group in the push acknowledged most of those people had probably died or moved away.
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    Most importantly, there's no evidence of widespread voter fraud, not in California or in any other state. The
    President has claimed was up to no good. Despite these sleuthing efforts such as they were of his so-called
    voter fraud commission. Don't get me started on that michigas (ph).


    Now, what continues to blow my mind and maybe it shouldn't at this point, but I've had a couple of wine
    coolers, so he's been hung up on this for nearly three years. The thing is he won. He won the Electoral College,
    which is all that matters constitutionally. He is the president. Take yes for an answer. Just take yes for an
    answer. But he is like kind of like a jilted would be prom king who walks around all day listening to the
    soundtrack of Broadway's Wicked


    (BEGIN VIDEO CLIP)


    (END VIDEO CLIP)


    COOPER: It's a show tune for everything in my opinion. The President would actually love Wicked. It is in the
    biggest theater on Broadway. Not term limited, it's a total cash cow and it's got a wizard unbound by checks
    and balances.


    Anyway, it may be difficult for someone who previously loved (ph) beauty pageants to really absorb this, but
    not everything is a popularity contest. Regardless of polls, regardless of the raw vote count, he is the
    commander-in-chief. He's got veto power with a giant sharpie and he's still very popular among his supporters
    and here on "The Ridiculist."


    The news continues. I want to hand it over to Chris for "CUOMO PRIME TIME."


    Chris?




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